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 6
                                UNITED STATES DISTRICT COURT
 7                        WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8    ANDREA SCHMITT and ELIZABETH     )
      MOHONDRO, each on their own behalf,
                                       )           CASE NO. 2:17-cv-01611 RSL
 9    and on behalf of all similarly situated
                                       )
      individuals,                     )
10                                     )           ORDER GRANTING UNOPPOSED
                Plaintiffs,            )           MOTION TO EXTEND TIME TO
11                                                 RESPOND TO THIRD AMENDED
                                       )
           v.                                      COMPLAINT
12                                     )
      KAISER FOUNDATION HEALTH PLAN )
13    OF WASHINGTON; KAISER            )
      FOUNDATION HEALTH PLAN OF        )
14    WASHINGTON OPTIONS, INC.; KAISER )
      FOUNDATION HEALTH PLAN OF THE )
15    NORTHWEST; and KAISER            )
      FOUNDATION HEALTH PLAN, INC.,    )
16                                     )
                Defendants.            )
17
                                       )
18

19           Defendants’ motion for an extension of time (Dkt. # 59) is GRANTED. Defendants’

20   Response to the Third Amended Complaint shall be filed by December 3, 2020.

21           Dated this 6th day of November, 2020.
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                                                Robert S. Lasnik
24                                              United States District Judge
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                                                                            KARR TUTTLE CAMPBELL
     ORDER GRANTING UNOPPOSED MOTION                                       701 Fifth Avenue, Suite 3300
     TO EXTEND TIME TO RESPOND TO COMPLAINT - 1                             Seattle, Washington 98104
     CASE NO. 2:17-cv-01611 RSL                                                    Main: (206) 223 1313
                                                                                    Fax: (206) 682 7100
     #1349774 v1 / 22408-614
